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 9                         UNITED STATES DISTRICT COURT
10                        CENTRAL DISTRICT OF CALIFORNIA
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12     JAMES RUTHERFORD, an               Case No. 5:21-cv-00303-JGB-SHKx
13     individual,

14                                            ORDER DISMISSAL WITH
            Plaintiff,                        PREJUDICE
15
       v.
16

17     RJAN, LLC, a California limited
       liability company; and DOES 1-
18     10, inclusive,
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            Defendants.
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                                     ORDER
                            DISMISSAL WITH PREJUDICE
     Case 5:21-cv-00303-JGB-SHK Document 20 Filed 07/08/22 Page 2 of 2 Page ID #:88


 1          After consideration of the Joint Stipulation for Dismissal of the entire action

 2    with Prejudice filed by Plaintiff James Rutherford (“Plaintiff”) and RJAN, LLC
 3
      (“Defendant”), the Court hereby enters a dismissal with prejudice of Plaintiff’s
 4

 5    Complaint in the above-entitled action, in its entirety. Each party shall bear his or its

 6    own costs and attorneys’ fees.
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 8          IT IS SO ORDERED.
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      DATED: July 8, 2022
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11
                                       HONORABLE JESUS G. BERNAL
12                                     UNITED STATES DISTRICT JUDGE
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                                       ORDER
                               DISMISSAL WITH PREJUDICE
